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                         BEFORE THE UNITED STATES
                JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


IN RE: FTX Cryptocurrency Exchange                           MDL Docket 3076
Collapse Litigation


                              SCHEDULE OF ACTIONS


      Case Captions                  Court             Civil Action       Judge
                                                           No.

Plaintiffs:                   U.S. Bankruptcy Court   1:22-AP-50513    Judge John T.
 • Austin Onusz                District of Delaware                       Dorsey
 • Cedric Kees Van Putten
 • Nicholas Marshall
 • Hamad Dar
Defendant:
 •   West Realm Shires Inc.
 •   FTX Trading Ltd.
 •   Sam Bankman-Fried
 •   Zixiao Wang
 •   Nishad Singh
 •   Alameda Research LLC
 •   Caroline Ellison
 •   West Realm Shires
     Services Inc.

Claims Agent:
 • Kroll Restructuring
     Administration LLC
